                   Case
AO 245C (Rev. /1)       2:02-cr-00674-JCM-NJK
                     Amended Judgment in a Criminal Case                Document 955               Filed 08/17/17(NOTE:
                                                                                                                     Page     1 Changes
                                                                                                                        Identify of 8 with Asterisks (*))
                     Sheet 1


                                            UNITED STATES DISTRICT COURT
                                                          __________  District
                                                                  District     of __________
                                                                           of Nevada
                UNITED STATES OF AMERICA                                        )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                      v.                                        )
                                                                                )   Case Number: 2:02-CR-0674-JCM-NJK
                            GUO JUN XU(2)                                       )
                        aka Hui Kit Shun                                        )
                                                                                    USM Number: 19055-031
Date of Original Judgment:                 5/6/2009                                 Amy Cleary, AFPD and Erica Choi, Esq.
                                           (Or Date of Last Amended Judgment)
                                                                                )   Defendant’s Attorney
                                                                                )
Reason for Amendment:
✔ Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))               )
G                                                                               )   G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                )
                                                                                    G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                                )
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))           )   G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                )
                                                                                )   G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                )     G 18 U.S.C. § 3559(c)(7)
                                                                                    G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
G pleaded guilty to count(s)
G pleaded nolo contendere to count(s)
   which was accepted by the court.
✔
G was found guilty on count(s)       1, 2, 3, 7, 8 AND 9 OF THE SECOND SUPERSEDING INDICTMENT
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                 Offense Ended                Count
 18 USC§1962(d)                      RICO Conspiracy                                                                    10/6/2004                   1

 18 USC§1956(h)                      Money Laundering Conspiracy                                                        10/6/2004                   2
 18 USC§371                          Conspiracy to Transport Stolen Moneys                                              10/6/2004                   3
       The defendant is sentenced as provided in pages 2 through                     2          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
✔ Count(s) Original and Superseding Indictments and all remaining counts in the second superseding indictment are dismissed on the
G
    motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                    8/14/2017
                                                                                    Date of Imposition of Judgment


                                                                                    Signature of Judge

                                                                                    JAMES C. MAHAN, U.S. DISTRICT JUDGE
                                                                                    Name and Title of Judge
                                                                                     August 17, 2017
                                                                                    Date
                  Case
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                     Amended   Judgment in a Criminal Case   Document 955   Filed 08/17/17      Page 2 of 8
                      Sheet 1A                                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                      Judgment — Page              of         2
DEFENDANT: GUO JUN XU(2)
CASE NUMBER: 2:02-CR-0674-JCM-NJK

                                       ADDITIONAL COUNTS OF CONVICTION

Title & Section               Nature of Offense                                    Offense Ended              Count
18 USC§1542 & 2                Passport Fraud/Aiding and Abetting                  10/15/2001                   7,8 and 9
                  Case
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                     Amended   Judgment in a Criminal Case    Document 955            Filed 08/17/17         Page 3 of 8
                      Sheet 2 — Imprisonment                                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page               of          2
DEFENDANT: GUO JUN XU(2)
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                                                         IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

*                 TIME SERVED




G      The court makes the following recommendations to the Bureau of Prisons:




✔
G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G     a.m.     G    p.m.       on                                      .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                         to

at                                                    with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
                   Case 2:02-cr-00674-JCM-NJK                    Document 955            Filed 08/17/17            Page 4 of 8
AO 245C (Rev. 06/17) Amended Judgment in a Criminal Case                                               (NOTE: Identify Changes with Asterisks (*))
        Sheet 3 - Supervised Release
                                                                                                                          Judgment - Page        of   2
DEFENDANT: GUO JUN XU(2)
CASE NUMBER: 2:02-CR-0674-JCM-NJK

                                                           SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:       2 YEARS        *

                                                     MANDATORY CONDITIONS
1.       You must not commit another federal, state or local crime.
2.       You must not unlawfully possess a controlled substance.
3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
         imprisonment and at least two periodic drug tests thereafter, as determined by the court, not to exceed 104 tests annually.
                 G        The above drug testing condition is suspended, based on the court’s determination that you
                          pose a low risk of future substance abuse. (check if applicable)
4.       ✔
         G         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.       G         You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
                   directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                   reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6.       G         You must participate in an approved program for domestic violence. (check if applicable)
7        G         You must make restitution in accordance with 18 U.S.C. §§ 3663, 3663A, or any other statute authorizing restitution. (check if
                   applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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                      Sheet 3A — Supervised Release
                                                                                                        Judgment—Page            of        2
DEFENDANT: GUO JUN XU(2)
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                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
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                     Sheet 3D — Supervised Release                                              (NOTE: Identify Changes with Asterisks (*))
                                                                                             Judgment—Page               of         2
DEFENDANT: GUO JUN XU(2)
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                                     SPECIAL CONDITIONS OF SUPERVISION
  1. You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030
  (e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by a United
  States Probation Officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other
  occupants that the premises may be subject to searches pursuant to this condition.

  The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
  violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must
  be conducted at a reasonable time and in a reasonable manner.

  2. You must not incur new credit charges, or open additional lines of credit without the approval of the probation officer.

  3. You must provide the probation officer access to any requested financial information and authorize the release of any
  financial information. The probation office will share financial information with the U.S. Attorney’s Office.

  4. If you are ordered deported from the United States, you must remain outside the United States, unless legally
  authorized to re-enter. If you re-enter the United States, you must report to the nearest probation office within 72 hours
  after you return.

  Note: A written statement of the conditions of release was provided to the Defendant by the Probation Officer in open
  court at the time of sentencing.
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                     Sheet 5 — Criminal Monetary Penalties                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page       2        of          2
DEFENDANT: GUO JUN XU(2)
CASE NUMBER: 2:02-CR-0674-JCM-NJK
                                          CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                   Assessment                 JVTA Assessment*   Fine                                     Restitution
TOTALS           $ 600.00                   $ 0.00             $ 0.00                                   $ 0.00
                                                                                                                   *

G The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                             Total Loss**                       Restitution Ordered                     Priority or Percentage




TOTALS                           $                           0.00        $                       0.00


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for       G fine          G restitution.
     G the interest requirement for the      G fine          G restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
                  Case
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                     Sheet 6 — Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                          Judgment — Page             of         2
DEFENDANT: GUO JUN XU(2)
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                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    ✔ Lump sum payment of $
     G                                  600.00              due immediately, balance due

          G not later than                                       , or
          G in accordance with G C,              G D,      G     E, or    ✔ F below; or
                                                                          G
B    G Payment to begin immediately (may be combined with                G C,       G D, or G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
            Schedule of payments – 10% of any income earned during incarceration and/or gross income while on
            supervision, subject to adjustment by the court based on ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
